      Case 21-50289-pwb         Doc 15 Filed 03/08/21 Entered 03/08/21 11:16:51    Desc Main
                                       Document     Page 1 of 2
                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

    IN.RE:                                               )
                                                         )
                                                             Case No.:    )- 5oaaci
                                                         )

c            C.VIek              Tii1o/u                 )
                                                         )   Chapter:    13
                    Debtor(s)



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                                c),,,L,4




    Dated:                !kV            Signature:          Bpu,4,41-
                                         Printed Name:



                                         Address:     •      3coyri                        6   r
                                                                                32)0,742
                                         Phone:              /96A-/           - 97(6.
           Case 21-50289-pwb       Doc 15       Filed 03/08/21 Entered 03/08/21 11:16:51                 Desc Main
                                                Document     Page 2 of 2


                                 UNITED STATES BANKRUPTCY COURT

                                   NORTHERN DISTRICT OF GEORGIA

                                             ATLANTA DIVISION


  IN RE:                                                 Case No:       ( \,)
                                                                        2           0 0/8 Cr

              rirE)e) -1--                               Chapter


                 Debtor(s)

                                             CERTIFICATE OF SERVICE



    I, the undersigned, hereby certify under penalty of               erjury that I am, and at all times hereinafter
  mentioned, was more than 18 year of age, and that on the                 day of /4a6L/L) 20      I served a copy of

                                                                          -t(2,
  which Xias filed in this bankruptcy matter on the          day of         yc 241


  Mode of service (check one):              0       MAILED                       --- DELIVERED
                                                                           err -IAND

  Name and Address . -. 1 • arty served (If necessary, you may attach a list.):
                      1 --- ----
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  I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.


  Dated:                                                 Signature:             4icei         c7i-„Adg

                                                         Printed Name:•         r
                                                         Address:               17
                                                                                17         a-ect-e}m,
                                                                      <ID u2AA4p}v()/                (ti; 300,?

                                                         Phone:

  (Generic Certificate of Service - Revised 4/13)
